           Case 1:19-cv-10408-NMG Document 13 Filed 06/10/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 KEITH HOBBS, individually and on behalf
 of all others similarly situated,
                                                  Case No. 19-cv-10408-NMG
                       Plaintiff,
      v.                                          JOINT MOTION FOR COUNSEL TO
                                                  APPEAR TELEPHONICALLY AT
 COMMONWEALTH SERVICING                           SCHEDULING CONFERENCE
 GROUP, LLC, a Massachusetts limited
 liability company, and DMB FINANCIAL,
 LLC, a Massachusetts limited liability
 company,

                       Defendants.


       Plaintiff Keith Hobbs and Defendants Commonwealth Servicing Group, LLC and DMB

Financial LLC (“Defendants” or “Commonwealth”) being in agreement, respectfully request that

the Court permit counsel for the Parties to appear telephonically at the Scheduling Conference

scheduled for June 19, 2019. The grounds for the relief are set forth below.

       1.      Counsel for Plaintiff, Woodrow & Peluso, LLC, work and reside in Denver,

Colorado. Thus, significant expense would be saved if counsel were permitted to appear

telephonically at the Scheduling Conference.

       2.      Counsel for Defendant, Daniel Ruggiero, will be in Massachusetts on June 19,

2019. However, he will have to travel six hours round trip to attend the Scheduling Conference.

Thus, significant time and expense would be saved if counsel were permitted to appear

telephonically at the Scheduling Conference.

       The Parties therefore respectfully request that the Court permit their counsel to appear

telephonically at Scheduling Conference on June 19, 2019.
        Case 1:19-cv-10408-NMG Document 13 Filed 06/10/19 Page 2 of 3



June 10, 2019                            Respectfully submitted,

                                         s/ Taylor T. Smith
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                                         Attorneys for Defendant




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         Case 1:19-cv-10408-NMG Document 13 Filed 06/10/19 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2019, I served copies of the foregoing papers on all

counsel of record by filing such papers with the Court using the Court’s electronic filing system.



                                                     s/ Taylor T. Smith




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